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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                               GAINESVILLE DIVISION


IN RE:                              )
                                    )
PAMELA MICHELE DAVIS                )     CHAPTER 13
                                    )
            Debtor.                 )     CASE NO. 17-22337-JRS
================================)
                                    )
PAMELA MICHELE DAVIS                )
                                    )
            Movant                  )
                                    )
v.                                  )
                                    )
LAMAR CREATIONS, INC.               )
                                    )
            Respondent              )
____________________________________)_________________________________________

                               NOTICE OF RESET HEARING

      PLEASE TAKE NOTICE that PAMELA MICHELE DAVIS (“Movant”) has filed a
Motion for Examination pursuant to FRBP 2004 (Doc. 64) on April 5, 2019.

      PLEASE TAKE FURTHER NOTICE that the Court will hold a hearing on the Motion
for Examination in Courtroom 103, United States Courthouse, 121 Spring Street SE,
Gainesville, GA 30501 on May 23, 2019 at 10:45 AM.

         Your rights may be affected by the court’s ruling on these pleadings. You should read these
pleadings carefully and discuss them with your attorney, if you have one in this bankruptcy case.
(If you do not have an attorney, you may wish to consult one). If you do not want the court to grant
the relief sought in these pleadings or if you want the court to consider your view, then you and/or
your attorney must attend the hearing. You may also file a written response to the pleadings with
the Clerk at the address stated below, but you are not required to do so.

        If you file a written response, you must attach a certificate stating when, how and on whom
(including addresses) you served the response. Mail or deliver your response so that it is received
by the Clerk at least two business days before the hearing.
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       The address of the Clerk’s Office is: Clerk, U.S. Bankruptcy Court, Clerk, U. S.
Bankruptcy Court, 121 Spring Street SE Gainesville, GA 30501. You must also mail a copy of
your response to the undersigned at the address stated below.

       Respectfully submitted,

       Dated: May 7, 2019.


                                                                       /s/ Howard P. Slomka
                                                                       Howard Slomka, Esq.
                                                                       Georgia Bar # 652875
                                                                       Slipakoff & Slomka, P.C.
                                                                       Attorney for Debtor
                                                                       Overlook III
                                                                       2859 Paces Ferry Rd. SE
                                                                       Atlanta, GA 30339



                                    CERTIFICATE OF SERVICE

       This is to certify that I have this day served a copy of the within and foregoing Motion for
Reconsideration in the above styled case by depositing same in the United States mail with the
adequate postage affixed thereto to insure delivery addressed as follows:
       SEE ATTACHED LIST FOR CREDITORS


       This May 7, 2019.




                                                                       /s/ Howard P. Slomka
                                                                       Howard Slomka, Esq.
                                                                       Georgia Bar # 652875
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